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              WHATSAPP INC. and FACEBOOK, INC.
         18
                                          UNITED STATES DISTRICT COURT
         19
                                       NORTHERN DISTRICT OF CALIFORNIA
         20
              WHATSAPP INC., a Delaware corporation,     Case No. 4:19-cv-07123-PJH
         21   and FACEBOOK, INC., a Delaware
              corporation,                               DECLARATION OF DANIEL J. GROOMS IN
         22
                                                         SUPPORT OF MOTION TO SEAL
                                        Plaintiff,
         23                                              DOCUMENTS RELATED TO REPLY BRIEF IN
                             v.                          SUPPORT OF MOTION TO DISQUALIFY
         24                                              PURSUANT TO L.R. 79-5(D)
              NSO GROUP TECHNOLOGIES LIMITED
         25   and Q CYBER TECHNOLOGIES LIMITED,          Date:        June 24, 2020
                                                         Time:        2:00 p.m.
         26                             Defendant.       Courtroom:   3
                                                         Judge:       Hon. Phyllis J. Hamilton
         27
                                           REDACTED VERSION OF
         28                            DOCUMENT SOUGHT TO BE SEALED
  COO
                                                                 DECLARATION OF DANIEL J. GROOMS (6/5/2020)
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                                                        1.                     CASE NO. 4:19-CV-07123-PJH
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          1          I, Daniel J. Grooms, declare:

          2          1.      I am a partner with the law firm of Cooley LLP and counsel for Plaintiffs WhatsApp

          3   Inc. (“WhatsApp”) and Facebook, Inc. in this matter. I make this declaration in support of WhatsApp’s

          4   Administrative Motion to Seal Documents Related to WhatsApp’s Reply Brief in Support of its

          5   Motion to Disqualify Defense Counsel. The information in this declaration is based on my personal

          6   knowledge of this matter and information I obtained following a reasonable investigation of the events

          7   described below. If called as a witness, I could competently testify to the truth of each statement.

          8          2.      King & Spalding LLP, counsel to Defendants in this case, previously represented

          9   WhatsApp in a sealed matter in the

         10                           brought by the

         11           (“the Government”).

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                                                                         DECLARATION OF DANIEL J. GROOMS (6/5/2020)
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                   Case 4:19-cv-07123-PJH Document 88-2 Filed 06/05/20 Page 3 of 4



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          4          6.       The following portions of the documents submitted in support of WhatsApp’s Reply

          5   Brief in support of its Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

          6   Matter contain, summarize, or tend to reveal information that is subject to the sealing order in the

          7                    (including the district and nature of the matter):

          8                   a. Lines 1:2-3, 1:4-5, 1:10; 2:17-21, 3:5-6, 3:22-24, 7:2-4, 7:9, 7:16-17, 7:19-22, 7:23-

          9                      24, 7:24-25, 7:25-27, 7:27-8:2, 9:20, 10:3-5, 10:6-9, 10:10-12, 10:13-15, and

         10                      10:24-26 of WhatsApp’s Reply Brief in support of Motion to Disqualify Defense

         11                      Counsel Based on Prior Representation in a Sealed Matter;

         12                   b. Lines 2:9-10, 2:10-11, 2:12-3:3, 3:7, and 3:16 of the June 5, 2020 Declaration of

         13                      Daniel J. Grooms in Support of Motion to Seal Documents Related to Reply Brief

         14                      in Support of Motion to Disqualify Pursuant to L.R. 79-5(d) (this document); and

         15                   c. Lines 3:4-9 of the June 5, 2020 Proof of Service by Adriana Vera.

         16          7.       Due to its obligations to comply with the sealing order in the                            ,

         17   WhatsApp has proposed redactions that encompass the aforementioned information pursuant to Local

         18   Rule 79-5(d).     WhatsApp has conferred with the Government regarding these redactions of

         19   information relating to the prior matter, and the Government has indicated it agrees with the redactions

         20   proposed by WhatsApp.

         21          8.       Lines 9:22-24 and 10:16-18 of the Reply Brief also contain information relating to King

         22   & Spalding’s prior representation of WhatsApp that is protected by the attorney-client privilege and/or

         23   the work product doctrine.       WhatsApp accordingly seeks to seal such information to protect

         24   confidences shared with King & Spalding during the prior representation.

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                                                                           DECLARATION OF DANIEL J. GROOMS (6/5/2020)
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                                                                3.                       CASE NO. 4:19-CV-07123-PJH
                   Case 4:19-cv-07123-PJH Document 88-2 Filed 06/05/20 Page 4 of 4



          1          I declare under penalty of perjury that the foregoing is true and correct. Executed on June 5,

          2   2020, in Falls Church, Virginia.

          3                                                /s/ Daniel J. Grooms
                                                           Daniel J. Grooms
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